Case: 2:19-cv-04375-ALM-EPD Doc #: 11-1 Filed: 11/20/19 Page: 1 of 4 PAGEID #: 206




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                                                                               1
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September 24, 2019

Via Certified U.S. Mail, Return Receipt Requested
Borror Properties Management, LLC
985 North High Street, Suite 200
Columbus, Ohio 43201

Via Certified U.S. Mail, Return Receipt Requested
Borror Properties Management, LLC
600 Stonehenge Parkway, 2nd Floor
Dublin, Ohio 43017

With a Copy to:

Via Email and Hand Delivery Only
James E. Arnold
James E. Arnold & Associates, LPA
115 West Main Street #400
Columbus, Ohio 43215
jarnold@arnlaw.com

      Re:   Notice of Breach of Property Sub-Management Agreements

Dear Borror Properties Management, LLC:

      DSM Group, Inc., Oro Karric South, LLC, Oro Karric North, LLC, Oro Springburne
LLC, Oro Silvertree, LLC, Oro RB SPE Owner, LLC, Oro Island Club SPE Owner, LLC,
and (collectively the “Oro Entities”) hereby give formal written notice to Borror
Properties Management, LLC (“Borror Management”), that Borror Management has
breached its contractual obligations under and committed intentional and negligent


              Akron     Bonita Springs   Cleveland   Columbus   Jacksonville
Case: 2:19-cv-04375-ALM-EPD Doc #: 11-1 Filed: 11/20/19 Page: 2 of 4 PAGEID #: 207




tortious acts related to the various Property Sub-Management Agreements with the Oro
Entities, including, but not limited to:

          •   Property Sub-Management Agreement between Oro Karric South, LLC,
              DSM Group, Inc., and Borror Management (the “Karric South Agreement”);

          •   Property Sub-Management Agreement between Oro Karric North, LLC,
              DSM Group, Inc. and Borror Management (the “Karric North Agreement”);

          •   Property Sub-Management Agreement between Oro Springburne, LLC,
              DSM Group, Inc., and Borror Management (the “Springburne
              Agreement”);

          •   Property Sub-Management Agreement between Oro Silvertree, LLC, DSM
              Group, Inc., and Borror Management (the “Silvertree Agreement”);

          •   Property Sub-Management Agreement between Oro RB SPE Owner, LLC,
              DSM Group, Inc. and Borror Management (the “Runaway Bay
              Agreement”); and

          •   Property Sub-Management Agreement between Oro Island Club SPE
              Owner, LLC, DSM Group, Inc. and Borror Management (the “Island Club
              Agreement”).

Collectively (the “Property Sub-Management Agreements”).

       While Borror Management has been aware for at least 45 days now of the Oro
Entities’ position that Borror Management breached its contractual obligations and
committed intentional and negligent tortious acts related to the Property Sub-
Management Agreements, the Oro Entities provide this notice out of an abundance of
caution.

       This notice also triggers Section 24.2 under the Runaway Bay Agreement and the
Island Club Agreement. Pursuant to Section 24.2 of those agreements, “Any dispute that
arises between the parties shall be first subject to mediation in Franklin County, Ohio.”
Those agreements go on to state that if mediation is unsuccessful then either party may
commence an action, “which shall be filed exclusively in the Court of Common Pleas,
Franklin County, Ohio.”

                                           2
Case: 2:19-cv-04375-ALM-EPD Doc #: 11-1 Filed: 11/20/19 Page: 3 of 4 PAGEID #: 208




       With respect to potential mediators for these two separate mediations, barring any
conflicts, we propose Don Gregory, Robert Palmer, Brian Buzby, Ken Fisher, or Jim
Luckino. The Oro Entities agree to mediate the disputes concerning these agreements in
one combined mediation if Borror Management is amenable to the same.

       Please let us know by 5:00 p.m. on September 30, 2019 whether you approve of
any of the above proposed mediators, or whether you propose alternative mediators and
whether you are willing to consolidate these two mediations into one. If we do not hear
from you by 5:00 p.m. on September 30, 2019, we will view your non-response as an
indication that you refuse to mediate these disputes under the applicable agreements,
and we will proceed with litigation as the Oro Entities deem appropriate under the terms
of these agreements.

        With respect to the Karric South Agreement, Karric North Agreement,
Springburne Agreement, and Silvertree Agreement, the Oro Entities plan to proceed
directly to litigation in either state or federal court, as these agreements do not limit
litigation exclusively to arbitration. If you prefer arbitration, please let us know by 5:00
p.m. on September 30, 2019. If we do not hear from you by 5:00 p.m. on September 30,
2019, we will view your non-response as an indication that you do not wish to proceed
with arbitration.

       Lastly, in addition to other damages that the Oro Entities have suffered as a result
of Borror Management’s breaches and other tortious acts, Borror Management is also
obligated to release immediately to the Oro Entities, by way of payment to DSM Group,
Inc., the remaining deposits in the aggregate amount of $145,362.69. It is our
understanding that this number has been discussed by the accounting people of the
respective parties. Please convey Oro’s demand for payment to your client so payment
may be promptly remitted.

                                                 Sincerely,
                                          BRENNAN, MANNA & DIAMOND, LLC
                                          /s/ David M. Scott

                                          David M. Scott

Cc:    DSM Group, Inc.
       Oro Karric South, LLC
       Oro Karric North, LLC
                                             3
Case: 2:19-cv-04375-ALM-EPD Doc #: 11-1 Filed: 11/20/19 Page: 4 of 4 PAGEID #: 209




         Oro Springburne, LLC
         Oro Silvertree, LLC
         Oro RB SPE Owner, LLC
         Oro Island Club SPE Owner, LLC
         Lucas K. Palmer, Esq.

4816-5398-8007, v. 1




                                          4
